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Western Division

 
   

UNITED sTATES oF AMERICA til§ttPHtS
-vs- Case No. 2:05cr20216-D
TERRANCE LEONARD

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, JULY 6, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Nintli Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: July 1,2005 ///XJ{ z §
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DIANE K VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are presentv Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AU 470 {B¢'SE) Order of Ten'porary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20216 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

